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 10 Attorneys for Defendant
      Carsten Breitfeld
 11
                            UNITED STATES DISTRICT COURT
 12
                          CENTRAL DISTRICT OF CALIFORNIA
 13

 14
                                   WESTERN DIVISION

 15 BYTON NORTH AMERICA                        Case No. 2-19-cv-10563
      CORPORATION, a Delaware
 16 corporation; and BYTON LIMITED, a          DEFENDANT CARSTEN
                                               BREITFELD’S REQUEST FOR
 17 Hong Kong company,
                                               DISMISSAL
 18               Plaintiffs,
            v.                                 Judge: Honorable Dolly Gee
 19
                                               Courtroom: 8C
 20 ICONIQ MOTORS NORTH

 21 AMERICA, INC., a California
      corporation; CARSTEN BREITFELD,
 22 an individual; and DOES 1 through 10,

 23 inclusive,

 24               Defendants.
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 28


                      DEFENDANT CARSTEN BREITFELD’S REQUEST FOR DISMISSAL
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  1 TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF

  2 RECORD:

  3        PLEASE TAKE NOTICE THAT on February 19, 2021, this Court issued an
  4 Order re Motion to Withdraw by Plaintiffs’ Counsel (“Order”), granting Plaintiffs

  5 Byton Limited and Byton North America Corporation’s (collectively, “Plaintiffs”)

  6 counsel’s motion for leave to withdraw as counsel. (See Dkt. 59 (Order at 2),

  7 attached as Exhibit A.) That Order required Plaintiffs to “file a notice of appearance

  8 of counsel by no later than March 26, 2021, providing the name, address, and

  9 telephone number of the attorney they have retained to represent them herein.” (Id.)

 10 The Order further stated that “failure to timely substitute counsel will result in

 11 dismissal of this action for lack of prosecution.” (Id.) As the Court noted in its

 12 Order, “[b]ecause Plaintiffs are a corporation and foreign company, they are not

 13 permitted to represent themselves, or to appear in court without a lawyer.” (Id.

 14 (citing C.D. Cal. L.R. 83-2.2.2).)

 15        Plaintiffs did not file the required notice of appearance of counsel. Defendant
 16 Carsten Breitfeld therefore respectfully requests that, pursuant to its February 19,

 17 2021 Order, the Court dismiss this action with prejudice for lack of prosecution

 18 and/or failure to comply with the Court’s Order.

 19

 20 DATED: April 23, 2021                WAYMAKER LLP
 21

 22                                       By:
 23                                         Ryan G. Baker
                                            Attorneys for Defendant
 24                                         Carsten Breitfeld
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                     DEFENDANT CARSTEN BREITFELD’S REQUEST FOR DISMISSAL
